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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA


    The State of Missouri and the State of
    Louisiana,

           Plaintiffs,

                   v.
                                                               Civil Action No. 22-cv-1213
    President Joseph R. Biden, Jr., in his
    official capacity as President of the United
    States of America,
                    et. al.,

           Defendants.


                   DEFENDANTS’ NOTICE REGARDING ROB FLAHERTY

          Because Plaintiffs’ motion for preliminary injunction is fully briefed and pending with the

   Court and seeks to enjoin defendant Rob Flaherty in his official capacity as Assistant to the

   President and White House Director of Digital Strategy, Dkt. 214 at 68, Defendants wish to provide

   advance notice that after June 30, 2023, Mr. Flaherty will no longer hold that position and will no

   longer be employed in any capacity by the U.S. Government. Defendants will file a notice of

   substitution pursuant to Federal Rule of Civil Procedure 25(d) once his successor is named.


   Dated: June 16, 2023                Respectfully submitted,

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